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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF
                               ILLINOIS EASTERN DIVISION



  IN RE:                                           Case # 15-12595

  Debra Anne Skipper                               Chapter 7

                       Debtor(s).                  Honorable Pamela Hollis




                                        REPORT OF SALE


            NOW COMES Cindy M. Johnson, not individually, but solely in his capacity as

  chapter 7 trustee (the “Trustee”) for the bankruptcy estate (the “Estate”) Debra Anne

  Skipper (the “Debtor”), and hereby submits her Report of Sale (the “Report”) pursuant

  to Federal Rules of Bankruptcy Procedure 6004(f)(1), and respectfully represents and

  states as follows:

       1.         On April 8, 2015 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the

Northern District of Illinois (the “Court”). Shortly thereafter, the United States Trustee for

the Northern District of Illinois appointed Cindy M. Johnson as the Trustee for the Estate.



            2.    On December 1, 2017, the Court entered an order approving sale of a 2001

  Porsche Boxster outside the ordinary course (the “Sale Order”) [Dkt. 32]



            3.    On behalf of the Estate the Trustee sold the 2001 Porsche Boxster to an

  undisclosed third party though an auction conducted by American Auction Associates on

  May 31, 2018 free and clear of any liens, claims or interests in the amount of $4,400.00.
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                                           Respectfully submitted,

                                           CINDY M. JOHNSON,
                                           Chapter 7 Trustee


                                           By:__/s/ Cindy M. Johnson_____________

Cindy M. Johnson
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